     Case: 1:18-cv-03550 Document #: 152 Filed: 01/07/20 Page 1 of 6 PageID #:834




                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION



 ELIZABETH AGUILERA, TERESA
 DISALVO, EMMA MENDOZA, and
 SHAUNTIQUEA FOSTON, individually and                  Case No. 1:18-cv-03550
 on behalf of themselves and all others
 similarly situated,
                                                       Hon. Edmond Chang
                Plaintiffs,
                                                       Magistrate Judge: Hon. Jeffrey Cummings
        vs.

 NUWAVE, LLC,

                Defendant.



                                 JOINT STATUS REPORT FOR
                              JANUARY 14, 2020 STATUS HEARING

       The parties submit the following status report pursuant Magistrate Judge Cummings’s

Order (Dkt. 143) directing that one be filed in advance of the status hearing set for January 14,

2020, at 11:00 a.m. The parties will be prepared to discuss these issues and any other issues that

the Court may wish to discuss.

I.     Preliminary Statement by NuWave, LLC

       On December 5, 2019, Judge Cummings held a telephonic status hearing, during which the

parties and the Court discussed tabling ongoing discovery issues in favor of proceeding with

settlement discussions. The Court set a settlement conference for February 14, 2020 and directed

the parties to focus their discovery on settlement efforts. See Dkt. 150. The parties have not

engaged in formal discovery and have set aside related discovery disputes (i.e. those related to ESI

discovery) since that date. The Court’s order did not address this Joint Status Report nor strike the
      Case: 1:18-cv-03550 Document #: 152 Filed: 01/07/20 Page 2 of 6 PageID #:834




January 14, 2020 hearing.

        On January 6, 2020, counsel for NuWave contacted counsel for Plaintiffs to inquire

whether they would agree to jointly contact the Court and ask that the requirement to submit this

Joint Status Report and the January 14th hearing be stricken, in order to conserve the Court’s and

parties’ resources. Plaintiffs’ counsel refused, citing outstanding informal requests for information

related to settlement. Accordingly, NuWave has no choice but to participate in the preparation of

this Joint Status Report and to attend the January 14th hearing, unless stricken by the Court.

However, NuWave respectfully submits that the January 14, 2020 hearing is unnecessary and

requests that it be stricken given the (intended) lack of progress on discovery issues to report.

II.     Plaintiff’s Response to Preliminary Statement by NuWave, LLC

        Plaintiffs have declined to strike the status hearing currently scheduled with the Court in

order to insure that NuWave produces the information Plaintiffs have requested, which is essential

to the preparation of Plaintiff’s mediation statement. On December 20, 2019, Plaintiffs requested

summary data concerning sales of NuWave Ovens, sales of Domes for NuWave Ovens, and for

Domes replaced under warranty. These summary figures will provide the basis for Plaintiff’s

mediation demand, which is due on January 10, 2020. While Plaintiffs agree that the Parties agreed

to a stay of formal discovery, Plaintiffs also reiterate that NuWave agreed to provide informal

discovery necessary for mediation.

        Despite Plaintiffs having requested the summary information over two weeks ago,

NuWave had not provided any definitive updates on when, or even if, it would provide that data

until today, January 7, 2020, after Plaintiffs refused to strike the status conference. NuWave now

states that it will provide the summary data today, January 7, 2020. Given Plaintiffs’ obligation to

serve its mediation statement including a demand on January 10, 2020, Plaintiffs request that the




                                                  2
       Case: 1:18-cv-03550 Document #: 152 Filed: 01/07/20 Page 3 of 6 PageID #:834




status conference be held for the sole purpose of insuring that Plaintiffs receive the data from

NuWave that they need to meet that obligation (and are unable to attain via normal avenues of

discovery due to the tabling of formal discovery in this matter). To the extent NuWave provides

the information necessary to formulate our settlement demand today, as they only just now

indicated they will do, then Plaintiffs will advise the Court that they agree the status conference is

no longer necessary.

III.     Joint Report

1.       Plaintiffs’ Motion to Compel Defendant NuWave, LLC to Disclose Information
         Regarding Technology Assisted Review and Sampling Pursuant to ESI Protocol.

         The parties have not made any progress on this issue since the last telephonic status

(December 5, 2019) pursuant to their agreement to table discovery in favor of settlement

discussions.

2.       Deposition Scheduling

         a.     Rule 30(b)(6) Deposition of NuWave; Gene Kim, EY Cha, and Jay Moon—No

dates have been set. The parties intend to select a date in the event that settlement does not occur.

         b.     Third-Party David Oland—Plaintiffs’ counsel was previously engaged in efforts

to determine a date for Mr. Oland’s deposition based on his availability. Efforts have been

suspended in favor of settlement discussions. The parties coordinate a date based on the witness’s

availability if settlement discussions are unsuccessful.

         c.     Plaintiffs DiSalvo, Foston, and Mendoza; Withdrawn Plaintiff Russell—The

parties struck previously-agreed dates for Plaintiffs DiSalvo, Foston, and Mendoza in favor of

settlement discussions and have not rescheduled these depositions. The parties will select new

dates for these witnesses if settlement is unsuccessful. Prior to the last status, NuWave was

engaged in efforts to serve withdrawn Plaintiff Russell, who resides in a remote part of West




                                                   3
     Case: 1:18-cv-03550 Document #: 152 Filed: 01/07/20 Page 4 of 6 PageID #:834




Virginia, with a subpoena for her deposition. NuWave has suspended those efforts pending

settlement discussions.

3.      Privilege Log

        The parties had previously agreed to exchange privilege logs by December 2, 2019. The

parties have agreed to delay production of their privilege logs in view of settlement discussions.

The parties will agree on a new deadline to exchange privilege logs if settlement efforts are

unsuccessful.

4.      Inspection of Tangible Items

        Judge Cummings’s November 5, 2019 Order (Dkt. 143) notes an inspection of tangible

items in California on November 13, 2019. The parties report that the inspection occurred on that

date.



DATED: January 7, 2020



                                         By: /s/ Matthew Lanahan (with permission)
                                             MATTHEW LANAHAN

                                               Jeffrey M. Ostrow, Esq.
                                               Jonathan M. Streisfeld, Esq.
                                               Joshua R. Levine, Esq.
                                               KOPELOWITZ OSTROW FERGUSON
                                               WEISELBERG GILBERT
                                               One West Las Olas Blvd.
                                               Suite 500
                                               Fort Lauderdale, FL 33134
                                               Telephone: (954) 525-4100
                                               Facsimile: (954) 525-4300

                                               Melissa S. Weiner, Esq.
                                               PEARSON, SIMON & WARSHAW, LLP
                                               800 LaSalle Avenue
                                               Suite 2150
                                               Minneapolis, MN 55402
                                               Telephone: (612) 389-0600
                                               Facsimile: (612) 389-0610




                                                 4
   Case: 1:18-cv-03550 Document #: 152 Filed: 01/07/20 Page 5 of 6 PageID #:834



                                       Hassan A. Zavareei, Esq.
                                       Matt Lanahan, Esq.
                                       TYCKO & ZAVAREEI LLP
                                       1828 L Street, NW
                                       Suite 1000
                                       Washington, DC 20036
                                       Telephone: (202) 973-0900
                                       Facsimile: (202) 973-0950
                                       Douglas A. Millen, Esq.
                                       Robert J Wozniak, Esq.
                                       Brian M Hogan, Esq.
                                       FREED KANNER LONDON & MILLEN LLC
                                       2201 Waukegan Road
                                       Suite 130
                                       Bannockburn, IL 60015
                                       Telephone: (224) 632-4500
                                       Facsimile: (224) 632-4521

                                       Attorneys for Plaintiffs



DATED: January 7, 2020

                                  By: /s/ Nicholas S. Lee
                                      Edward L. Bishop
                                      ebishop@bdl-iplaw.com
                                      Nicholas S. Lee
                                      nlee@bdl-iplaw.com
                                      Stephanie N. White
                                      swhite@bdl-iplaw.com
                                      BISHOP DIEHL & LEE, LTD
                                      1475 E. Woodfield Rd., Suite 800
                                      Schaumburg, IL 60173
                                      Telephone: (847) 969-9123
                                      Facsimile: (847) 969-9124


                                       Attorneys for Defendant




                                         5
    Case: 1:18-cv-03550 Document #: 152 Filed: 01/07/20 Page 6 of 6 PageID #:834




                                  CERTIFICATE OF SERVICE

        I, Nicholas S. Lee, hereby certify that on January 7, 2020, a copy of the foregoing Joint

Status Report was filed with the Clerk of the Court using the CM/ECF system which will send

notification of such filing to all attorneys of record.

                                                          /s/ Nicholas S. Lee
                                                          Nicholas S. Lee




                                                    6
